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                           UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF THE DISTRICT OF COLUMBIA

CIOX HEALTH, LLC,                            )
                                             )
                 Plaintiff,                  )
                                             )
                                                      Case No. 1:18-cv-00040 (APM)
v.                                           )
                                             )
ALEX M. AZAR II, Secretary of Health         )
and Human Services, et al.,                  )
                                             )
                 Defendants.                 )
                                             )

                     CONSENT MOTION FOR EXTENSION OF TIME
                 TO ANSWER OR OTHERWISE RESPOND TO COMPLAINT

       Defendants Alex M. Azar II, Secretary of Health and Human Services, et al., move for a

two-week extension of time to answer or otherwise respond to the Complaint filed by Plaintiff

Ciox Health, LLC. ECF No. 1. The parties have agreed to enter into discussions that will

potentially resolve the case without further litigation, and Plaintiff has consented to the extension

request. Thus, good cause exists to grant Defendants’ request.

       Defendants’ current deadline to answer or otherwise respond to the Complaint is

Monday, March 19, 2018. Therefore, Defendants ask for the deadline to be extended to Monday,

April 2, 2018.

Dated: March 9, 2018                                  Respectfully submitted,

                                                      CHAD A. READLER
                                                      Acting Assistant Attorney General

                                                      JESSIE K. LIU
                                                      United States Attorney

                                                      JOEL McELVAIN
                                                      Assistant Director

                                                      /s/ Vinita B. Andrapalliyal
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